           Case 25-10096                  Doc 25         Filed 03/07/25 Entered 03/08/25 00:24:57                                      Desc Imaged
                                                        Certificate of Notice Page 1 of 2
                                                                United States Bankruptcy Court
                                                                  District of Massachusetts
In re:                                                                                                                   Case No. 25-10096-jeb
Brian A. Tanguy                                                                                                          Chapter 7
       Debtor
                                                      CERTIFICATE OF NOTICE
District/off: 0101-1                                                    User: admin                                                                 Page 1 of 1
Date Rcvd: Mar 05, 2025                                                 Form ID: pdf012                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                  Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                   regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Mar 07, 2025:
Recip ID                  Recipient Name and Address
db                      + Brian A. Tanguy, 15 Summer St., Weymouth, MA 02188-1513

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                       NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Mar 07, 2025                                             Signature:            /s/Gustava Winters




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 5, 2025 at the address(es) listed
below:
Name                                Email Address
Donald Lassman
                                    don@lassmanlaw.com dlassman@ecf.axosfs.com

Richard King - B
                                    USTPRegion01.BO.ECF@USDOJ.GOV

Scott J. Fishman
                                    on behalf of Debtor Brian A. Tanguy scottfishman@jenningsfishman.com

William J. McLeod
                                    on behalf of Interested Party Massachusetts Department of Industrial Accidents william.j.mcleod@mass.gov
                                    mcleodlaw@gmail.com


TOTAL: 4
Case 25-10096        Doc 25      Filed 03/07/25 Entered 03/08/25 00:24:57                   Desc Imaged
                                Certificate of Notice Page 2 of 2




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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF MASSACHUSETTS


 In re:

 BRIAN A. TANGUY,                                         Chapter 7
                                                          Case No. 25-10096-JEB
                Debtor


                            Proceeding Memorandum and Order

MATTER:
#9 Motion filed by Debtor Brian A. Tanguy to Avoid Judicial Lien of Richard Eames & Kristin
Lima

Decision set forth more fully as follows:
Hearing held on March 5, 2025. For the reasons set forth on the record, the Motion is denied.
This order is without prejudice to the Debtor filing a new motion for such relief.


 Dated: March 5, 2025                                     By the Court,



                                                          Janet E. Bostwick
                                                          United States Bankruptcy Judge
